 Case 3:11-cr-00010-CRS Document 175 Filed 06/14/11 Page 1 of 1 PageID #: 625




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF

V.                                            CRIMINAL ACTION NUMBER : 3:11CR-10-S

VICTOR CANCEL-RODRIGUEZ                                                          DEFENDANT



                          ACCEPTANCE OF PLEA OF GUILTY,
                           ADJUDICATION OF GUILT, AND
                              NOTICE OF SENTENCING


       Pursuant to the Report and Recommendation of Magistrate Judge Dave Whalin, the
plea of guilty by the Defendant as to Count 1 in the Indictment is hereby accepted, and the
Defendant is adjudged guilty of such offense. Sentencing is hereby scheduled for Wednesday
August 10, 2011 at 3:00 p.m., in Louisville, KY, before Charles R. Simpson III, Judge United
States District Court.



       June 13, 2011




Copies to: U.S. Attorney
           U.S. Marshal
           U.S. Probation
           Counsel of Record
